Case 1:19-md-02875-RMB-SAK                    Document 593                   Filed 10/13/20        Page 1 of 9 PageID:
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                                                                                                           ALLIANCES IN MEXICO
                                                                                                              AND SRI LANKA




 October 13, 2020


 VIA ECF

 The Honorable Joel Schneider
 United States Magistrate Judge
 District of New Jersey

             Re:       In re Valsartan, Losartan, and Irbesartan Products Liability Litigation
                       Case No. 1:19-md-02875-RBK-JS

 Dear Judge Schneider:

        This letter is to provide Defendants’ positions with respect to the topics on the agenda for
 the conference with the Court on October 14.

 1.          Rule 34 Discovery of Economic Loss Class Representatives

         The Court-approved Plaintiff Fact Sheets (“PFS”) for consumer class representatives and
 third-party payors (“TPPs”) (collectively, the “PCRs”) contained a handful of document requests
 limited in scope to certain issues that are essential to the PCRs’ claims that they paid for valsartan-
 containing drugs (“VCDs”). They do not cover all of the issues pertinent to the class certification
 requirements under FRCP 23, especially the requirements to demonstrate a readily ascertainable
 class and to present a reliable model for establishing damages on a class-wide basis, but instead
 are the functional equivalent of the requests for “core” discovery to which the Manufacturer
 Defendants were required to respond. Just as Plaintiffs were entitled to do with respect to their
 core discovery requests, Defendants seek to supplement the PFS requests with document requests




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Case 1:19-md-02875-RMB-SAK                Document 593         Filed 10/13/20     Page 2 of 9 PageID:
                                               12460


 October 13, 2020
 Page 2


 under FRCP 34 that are necessary to elicit the information that is essential to the PCRs’ obligations
 under Rule 23. 1

         In contrast to the more than 140 Rule 34 requests Plaintiffs were permitted to serve on
 Defendants, Defendants have proposed the PCRs respond to a handful of requests that do not
 duplicate the PFS requests and focus on the types of documents that go to the heart of the PCRs’
 class action allegations, 2 as follows:

          Consumer Representative Requests                      TPP Representative Requests

     Warranties: Documents reflecting any express Insurance Plans: The Plan Documents,
     warranty you claim any defendant breached.   Summary Plan Descriptions, Group Insurance
                                                  Policies, and Summaries of Benefits for all
     Notices: Communications giving notice to any plans which serve as a basis for any damages
     defendant that it breached a warranty.       you are claiming.

     Insurance:      Your      insurance    policies,   Pharmacy Benefits Management and Plan
     summaries of benefits, summary plan                Administration Agreements: All contracts or
     descriptions, formularies or preferred drug        agreements between you (or any assignor) and
     lists, subscriber certificates, and descriptions   any PBM or plan administrator regarding how
     or schedules of copayments for all plans that      pharmacy benefits would be administered or
     paid or reimbursed for VCDs during the             paid out under any plan. This request excludes
     relevant time period.                              the Summacare and Emblem agreements
                                                        previously produced.
     Deductibles: Documents showing that you met
     your annual “out-of-pocket” maximum or Transaction Prices: Documents reflecting the
     health benefit deductible for any year during gross price you (or an assignor) paid to cover
     the relevant time period.                     the costs of VCDs or alternative blood pressure
                                                   medications, and any related discounts,
     Physical Injury: If you are claiming any rebates, or fees you (or an assignor) received
     bodily injury or damage to property, or paid.
     documents relating to such damages.
                                                   Insured Records: For every insured person
     Diminished Effectiveness: If you are claiming who obtained VCDs under any plan or policy
     diminished effectiveness of your VCDs, serving as a basis for any damages you are
     documents relating to such damages.           claiming, that person’s plan, policy, summary
                                                   of benefits, summary plan description, and

 1
   See ECF 582 (attaching Defendants’ Rule 34 requests to be served on putative class
 representatives). “[D]efendant[s] [are] entitled to utilize … discovery devices to demonstrate that
 the facts cut against certification.” 3 Newberg on Class Actions § 7:14 (2020).
 2
     See Email from Goldberg to Slater, 10/8/20, attached as Ex. A.
Case 1:19-md-02875-RMB-SAK               Document 593         Filed 10/13/20      Page 3 of 9 PageID:
                                              12461


 October 13, 2020
 Page 3


     Class Certification: To the extent not            group insurance policy (as applicable), and
     otherwise produced, all documents you             documents showing what the insured actually
     contend support your “Class Action                paid for VCDs or other blood pressure
     Allegations” (ECF 398, ELMC ¶¶ 422-434).          medications.

     Disclosure of Financial Interests: Any            Formularies: All formularies and preferred
     agreement or communication between you and        drug lists for each of your assignors not
     any other person relating to your (or their)      previously produced, and all documents
     financial interest in this case, including any    reflecting how you (or any assignor)
     indemnification      or    litigation   finance   determined whether, or where, any VCDs or
     agreements.                                       other blood pressure medications would
                                                       appear on any formulary.
     Damages: Documents that reflect your alleged
     out of pocket damages, the amount of any          Payment Terms: The payment or co-payment
     alleged diminution in value of the VCDs,          terms applicable to each tier of the
     and/or the value of the loss of benefit of any    formulary/preferred drug list for all insureds
     alleged bargain you claim to have made with       on any plan or group insurance policy serving
     any defendant regarding the VCDs. 3               as the basis for any damages you are claiming.

                                                       Safety Assessments: Evaluations or statements
                                                       regarding the safety or purity of any VCDs
                                                       undertaken or obtained by you or any assignor.

                                                       Alternatives:      Documents       discussing
                                                       alternative medications that you or your
                                                       assignors could provide coverage for in lieu of
                                                       VCDs.

                                                       Warranties: Documents reflecting any express
                                                       warranty you claim any defendant breached.

                                                       Notices: Communications giving notice to any
                                                       defendant that it breached a warranty.



 3
   Just as the Defendants have been required to compile spreadsheets containing sales information,
 such as volumes sold, dates of sale, price per sale, and purchaser identities, the putative class
 representatives—especially the putative TPP class representatives, who purport to assert the claims
 of an undisclosed number of ERISA plans which allegedly purchased Defendants’ VCDs in
 prescription drug coverage for their members—should be required to compile a spreadsheet setting
 forth their damages-related information, to the extent such spreadsheets have not already been
 compiled and produced to Defendants.
Case 1:19-md-02875-RMB-SAK              Document 593        Filed 10/13/20     Page 4 of 9 PageID:
                                             12462


 October 13, 2020
 Page 4


                                                    Damages: Documents that reflect your alleged
                                                    out of pocket damages, the amount of any
                                                    alleged diminution in value of the VCDs,
                                                    and/or the value of the loss of benefit of any
                                                    alleged bargain you claim to have made with
                                                    any defendant regarding the VCDs.



        Given the juxtaposition between the conclusory “class action allegations” in the PCRs’
 master complaint, see ECF 398 at ELMC ¶¶ 422-434, and their patently overbroad alleged classes,
 on the one hand, and the rigorous analysis required under Rule 23, including the heightened
 standard for establishing ascertainability set by the Third Circuit in Carrera v. Bayer Corp., 727
 F.3d 300, 308 (3rd Cir. 2013) (method for identifying class members must be “reliable and
 administratively feasible”), on the other hand, Defendants proposed that the parties discuss the
 following questions during their recent Court-ordered meet and confer regarding Defendants’
 proposed Rule 34 requests in order to determine if any of the requests should be eliminated or
 modified. 4

       1. Have you produced all documents that you believe support class certification under Rule
          23? Were all such documents produced in response to the Plaintiff Fact Sheets (“PFSs”)?

       2. Do you anticipate relying on preferred drug lists/formularies and/or co-pay information in
          moving for class certification? Have you obtained and reviewed any formularies, summary
          plan descriptions, plan documents, or group insurance policies applicable to any consumer
          class or TPP class representative? If so, when can these documents be produced?

       3. Do you anticipate relying on drug replacement information in moving for class
          certification? Do you have any documents relating to replacement drugs that can be
          produced?

       4. So that we may focus our discovery, how do you contend damages should be calculated
          for the causes of action in the economic loss action?

       5. Have you produced all documents MSP has received from its Assignors?

       6. Is MSP going to rely on the claims of its Assignors for purposes of satisfying Rule 23’s
          certification requirements or at trial?




 4
     See Email from Goldberg to Slater, 10/6/20, attached as Ex. B.
Case 1:19-md-02875-RMB-SAK            Document 593        Filed 10/13/20      Page 5 of 9 PageID:
                                           12463


 October 13, 2020
 Page 5


     7. Are any consumer class representatives claiming that their VCDs were ineffective or less
        effective as a result of the presence of nitrosamines? If so, what documents do they intend
        to rely upon on that point, and when can those documents be produced?

     8. Have you produced all documents that you believe identify unnamed class members of the
        consumer and TPP classes? Will you be providing identifying information for unnamed
        class members outside of subscriber IDs?

         The PCRs stonewalled, refusing to respond to any of these questions, and refusing to
 provide any insight into their class action theories, other than what is pleaded in their economic
 loss master complaint, or into their damages theory or proposed damages calculation, other than
 that they demand 100% recovery of all amounts paid for Defendants’ VCDs, even if they did not
 contain nitrosamines, since 2012. However, there is no question that Defendants need the above
 information to address the PCRs’ eventual class certification motion, as this information goes
 directly to the questions whether the PCRs can demonstrate a readily ascertainable class, 5 and
 whether “individualized damages calculations … overwhelm questions common to the class.” In
 re Modafinil Antitrust Litig., 837 F.3d 238, 260 (3d Cir. 2016) (quoting Comcast Corp. v. Behrend,
 569 U.S. 27, 34 (2013)). 6

         Based on the PCRs’ anticipated theory of 100% recovery for all amounts paid for any of
 Defendants’ VCDs, it is essential that Defendants be able to determine whether and the extent to
 which any putative class member, including the undisclosed number of assignors (who insured an
 undisclosed number of consumers) represented by the TPPs, actually paid for an allegedly impure
 VCD. Likewise, determining the offset attributable to the replacement drugs that each consumer
 (or each TPP assignor) would have purchased “but for” the alleged contamination of Defendants’
 VCDs will pose overwhelmingly individualized questions including, inter alia: what drug(s)
 would be prescribed; their cost(s); their placement(s) on their insurers’ formularies; each
 individual PCR’s co-pay and “out-of-pocket” maximum for every health plan that insured him/her;



 5
   “To satisfy ascertainability as it relates to proof of class membership, the plaintiff must
 demonstrate his purported method for ascertaining class members is reliable and administratively
 feasible, and permits a defendant to challenge the evidence used to prove class membership.”
 Carrera, 727 F.3d at 308; see also Afzal v. BMW of N. Am., LLC, No. 15-8009, 2020 WL 2786926,
 at *8-10 (D.N.J. May 29, 2020) (applying Carrera’s heightened ascertainability standard in
 denying certification of class of automobile purchasers) (attached hereto as Ex. C).
 6
   “[A]n individual question is one where members of a proposed class will need to present evidence
 that varies from member to member, while a common question is one where the same evidence
 will suffice for each member to make a prima facie showing or the issue is susceptible to
 generalized, class-wide proof.” Id. (quoting Tyson Foods, Inc. v. Bouaphakeo, 136 S. Ct. 1036,
 1045 (2016)).
Case 1:19-md-02875-RMB-SAK             Document 593        Filed 10/13/20      Page 6 of 9 PageID:
                                            12464


 October 13, 2020
 Page 6


 and the actual costs each insurer or plan paid (factoring in rebates and credits arranged by any
 pharmacy benefits managers retained by the insurers/plans).

         During last week’s meet and confer the PCRs did not object to any of the above requests
 as seeking information irrelevant to their claims or obligations under Rule 23, nor did they contend
 that any seek information not within their possession, or that is unduly burdensome to collect. 7
 Rather, they argued only that the requests are duplicative of the PFS requests, or that the PCRs
 have executed “authorizations” so Defendants can go subpoena the information from the PCRs’
 insurers or assignors.

         Defendants disagree that the above requests are duplicative of the PFS requests.
 Regardless, the PCRs must be required to certify that they searched for the information sought
 above, and produced any such information that is within their possession. As for the PCRs’
 authorization shell game, the PCRs—who are parties to this litigation, who assert claims against
 Defendants, and who are forcing Defendants to bear the expense of discovery—should not be able
 to avoid their own collection and review of documents at the core of their Rule 23 claims by
 providing authorizations to Defendants and forcing them to undertake the additional burden of
 subpoenaing third parties for information the PCRs should have already collected and reviewed in
 connection with filing their claims. See Fed. R. Civ. P. 34 (party to case must produce items “in
 the responding party’s possession, custody, or control”); Hernandez v. Results Staffing, Inc., 907
 F.3d 354, 361 (5th Cir. 2018) (holding plaintiff must produce responsive documents in his
 possession even if he has provided an authorization for the release of the same documents); Doe
 v. Dist. of Columbia, 231 F.R.D. 27, 35 (D.D.C. 2005) (“As to medical records, I expect them to
 be produced by plaintiff if he has a copy. Also, I consider medical records to be within plaintiff's
 control and expect that he will authorize their release to defendant ….”). Plaintiffs would have
 scoffed at any Defendant who sought to skirt producing information in its possession because some
 of it was also in the possession of a third-party.

         As the Court has frequently said, Plaintiffs must have “skin in the game” too, and with the
 parties on the brink of depositions of the PCRs at Plaintiffs’ strenuous urging, now is the time for
 them to finally provide the discovery at the core of the most basic elements of their claims and
 Rule 23 allegations, not attempt to avoid that obligation, and, most certainly, not to assert, as
 Plaintiffs’ did during last week’s meet and confer, “you’ll see our evidence when we file our
 motion for class certification.” The Court should order the PCRs to search for and produce
 information in their possession responsive to Defendants’ Rule 34 requests and to certify that they
 have done so.



 7
   Any burden on the PCRs in responding to the handful of Rule 34 requests Defendants have
 proposed would be trivial compared to the millions of dollars and thousands of hours Defendants
 are being forced to expend responding to Plaintiffs’ more than 140 Rule 34 requests, which were
 in addition to Plaintiffs’ core discovery requests.
Case 1:19-md-02875-RMB-SAK               Document 593         Filed 10/13/20      Page 7 of 9 PageID:
                                              12465


 October 13, 2020
 Page 7


 2.     The Dates for Putative Class Representative Depositions Should Be Extended So
        That the Defendant Fact Sheet Process Can be Substantially Completed and
        Necessary Interests Can be Represented at the Depositions

         The Court’s October 2, 2020 Order requires that depositions of the purported class action
 plaintiffs begin between December 1, 2020 and January 15, 2021, and be completed by March 26,
 2021. See ECF 585 ¶ 5. Defendants request that this period be adjusted to account for the ongoing
 Defendant Fact Sheet (“DFS”) process so that the appropriate Defendants can be identified and
 attend the depositions to protect their interests.

          The DFS process is designed, among other things, to attempt to identify which defendants
 up the supply chain were involved in the manufacture and sale of the valsartan-containing drugs
 consumed by each particular plaintiff by asking each link in the chain to attempt to identify from
 whom they purchased the at-issue product. This culminates with the API manufacturers, who
 obviously have a crucial stake in the case. The API manufacturers must know whether their API
 is at-issue for each putative class representative, and have the opportunity to attend each such
 deposition to protect their interests.

        The four-phase DFS process began in mid-August: (1) the pharmacy defendants have 60
 days to complete their DFS (mid-October), which triggers (2) the wholesalers/repackager
 defendants’ 60 days to complete their DFS (mid-December), which triggers (3) the finished dose
 manufacturer defendants’ 60 days to complete their DFS (mid-February), which triggers (4) the
 API manufacturer defendants’ 60 days to complete their DFS (mid-April). (Dkt. 546) (order
 approving fact sheets for four levels with 60-day triggers).

          Therefore, the earliest possible date that the DFS process could be completed for any
 putative class representative is mid-April, 2021. However, to this day not all of the purported class
 representatives have substantially completed their Plaintiff Fact Sheets, and their DFS process
 accordingly will lag behind. One putative class representative did not file any Plaintiff Fact Sheet
 at all (let alone a substantially complete one) until October 6, 2020, which makes the earliest
 possible date for the completion of the DFS process for that plaintiff June of 2021.

         Defendants, however, are cognizant of the need for the case to move forward. For cases
 that involve only vertically integrated manufacturers (manufacturers whose finished dose uses only
 the API from a related company) all of the proper defendants will at least have the chance to be
 identified at the time the finished dose manufacturer DFS is complete (mid-February at the
 earliest). However, for finished dose manufacturers who use API from unrelated companies, all
 proper defendants for a particular putative class representative will not be identified until the entire
 DFS process is complete (mid-April at the earliest).

         The Defendants therefore request that the dates for class representative plaintiffs be
 extended to begin February 15, 2021 and end August 31, 2021. This takes into account the need
 for all proper defendants to be identified while moving the deposition process ahead of the DFS
 process where possible.
Case 1:19-md-02875-RMB-SAK             Document 593        Filed 10/13/20      Page 8 of 9 PageID:
                                            12466


 October 13, 2020
 Page 8


 3.     Hearing on Defendants’ Rule 12 Motion

        Briefing under Rule 12 will be complete as of October 16, 2020, subject to Defendants’
 request to brief jurisdictional issues. Defendants request the Court set a date for oral argument on
 their Rule 12 motions, and advise as to whether the Court will be conducting that argument in
 person or via video conference in light of COVID-19 so the parties can plan accordingly.

 4.     Manufacturer Defendant Depositions

         On October 7, 2020, Plaintiffs supplemented their original lists of proposed deponents. Per
 the Court’s directive, the Manufacturer Defendants have reached out to Plaintiffs to meet and
 confer with them about those lists in order to address, among other things, the issues previously
 raised with the Court concerning the challenges posed by deposing foreign nationals and COVID-
 19.

 5.     Pace of Document Productions

         The Court set a series of rolling production deadlines on April 15, 2020. See Hr’g Tr., Apr.
 15, 2020, at 29:13-19. On the same day, at Plaintiffs’ request, the Court ordered that Plaintiffs
 prioritize the documents they request to be produced earliest and ordered that “Defendants shall
 use good-faith, reasonable efforts to comply with plaintiffs’ prioritization.” See id. at 29:22-23.
 On May 7, 2020, Plaintiffs provided their proposed prioritization. During virtually every
 teleconference with the Court since the establishment of this process for Defendants’ production,
 Plaintiffs have requested the Court make rulings to either speed up their productions or change
 their prioritization. 8 However, those requests have generally rung hollow because, with the
 exception of two issues that have been resolved between the parties, Plaintiffs have not complained
 about any specific deficiencies of any Defendants’ productions either to the Court, or to any of the
 Defendants. Thus, the Court has reaffirmed its requirement that Defendants make good faith efforts
 in prioritizing their productions, and the Court has accepted Defendants’ representations that they
 have done so. See, e.g., ECF 564, Order, Aug. 26, 2020 (“Defendants shall continue to use
 reasonable good faith efforts to prioritize their document productions according to plaintiffs’
 requests.”); Hr’g Tr., Sept. 16, 2020, at 9:21-22 (“If counsel made that representation, well, it’s
 going to be accepted . . . .”).


 8
   For example, despite being actively and amicably engaged in ongoing discussions with ZHP’s
 counsel regarding the scope of testing records to be produced by ZHP, Plaintiffs complained to the
 Court at the August 26, 2020 conference that Defendants still had not produced all testing records,
 and the Court entered a new deadline for certain testing records. See ECF 564, Order, Aug. 26,
 2020. In addition, at the case management conference in mid-September, Plaintiffs complained to
 the Court, without having first met and conferred with the ZHP Parties, that they have not received
 all documents relating to a subset of documents they prioritized within the documents of certain
 priority custodians. See, e.g., Hr’g Tr., Sept. 16, 2020, at 4:17-5:8.
Case 1:19-md-02875-RMB-SAK             Document 593        Filed 10/13/20       Page 9 of 9 PageID:
                                            12467


 October 13, 2020
 Page 9


          As with previous teleconferences since the Court set the production schedule, Plaintiffs
 have not identified any specific issues regarding any aspect of any Defendants’ production that
 Plaintiffs were unable to resolve and thus are ripe for resolution by the Court. Thus, there is no
 basis for the Court to make any changes to the process that was established six months ago, that
 has been progressing without a hitch since, and that is only approximately six weeks from
 completion. Rather than disrupt that process, the Court should allow Defendants to focus their
 resources on completing the task that has been at hand, and in which they have invested in good
 faith, since mid-April.

 6.     Privilege Logs

         On August 28, 2020, the Court ordered that “[a]ll parties shall affirmatively indicate with
 their rolling productions of documents whether any responsive documents are being withheld on
 the grounds of privilege or work-product.” Defendants have been complying with that
 Order. Like the above issue regarding the pace of Defendants’ document productions, Defendants
 are not aware of any concerns Plaintiffs have related to privilege logs, and Plaintiffs have not
 satisfied their meet and confer obligations with such issues, if any.




                                                      Respectfully submitted,

                                                      /s/ Seth A. Goldberg

                                                      Seth A. Goldberg


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